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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------X
 UNITED STATES OF AMERICA,

                                                     MEMORANDUM & ORDER
       -against-                                     17-CR-0053 (JS)(ARL)

 LORRAINE PILITZ, a.k.a. LORRAINE
 CHRISTIE, a.k.a. LORRAINE STORMS,

                 Defendant.
 --------------------------------X
 APPEARANCES
 For Government:     Adam Toporovsky, Esq.
                     United States Attorney’s Office
                     271-A Cadman Plaza East
                     Brooklyn, New York 11201

                          Burton T. Ryan, Jr., Esq.
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                          United States Attorney’s Office
                          610 Federal Plaza, Fifth Floor
                          Central Islip, New York 11722

 For Third Party          Lawrence V. Carra, Esq.
 Claimants Pilitz         114 Old Country Road
 and Storms:              Mineola, New York 11501

 SEYBERT, District Judge:

             The United States of America (the “Government”) moves

 pursuant to Federal Rule of Criminal Procedure 32.2(c)(1)(A) to

 dismiss the third-party petitions of: (1) Lorraine Pilitz (the

 “Defendant”)     filed   in   her   capacity   as    trustee   for   the   Diana

 Christie Family Trust (the “Trust”) (see Defendant’s Petition for

 Third-Party Interest (the “Defendant’s Petition”), ECF No. 145),

 and (2) James Storms (“Storms” and together with Defendant, the

 “Petitioners”) filed in his capacity as the sole vested beneficiary
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 of the Trust (see Storms’ Petition for Third-Party Interest (the

 “Storms Petition), ECF No. 146).          For the reasons that follow, the

 Government’s Motion is GRANTED and the Petitions are DISMISSED.

                 RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

             On November 9, 2022, following a jury trial, Defendant

 was   convicted     of:   (1) structuring     financial    transactions    in

 violation of 31 U.S.C. §§ 5324(a)(3) and 5324(d)(2); (2) corruptly

 endeavoring to obstruct and impede the Internal Revenue Laws in

 violation of Title 26 U.S.C. § 7212(a); and (3) filing false tax

 returns in violation of 26 U.S.C. § 7206(1) for tax years (i) 2010;

 (ii) 2011; and (iii) 2012.            (See Jury Verdict, ECF No. 136;

 Superseding Trial Indictment, ECF No. 130.)              In addition to the

 substantive counts, the Indictment included a criminal forfeiture

 allegation which gave “notice to the defendant that, upon her

 conviction of the offense charged in Count One,[1] the government

 [would] seek forfeiture in accordance with Title 31, United States

 Code,    Section   5317(c)(1)(A).”        (Superseding    Trial   Indictment,

 ¶ 19.)    Specifically, the Government provided notice that it would

 seek forfeiture of, inter alia, “[a]ll right, title and interest

 in the real property located at 295 East Montauk Hwy, Lindenhurst,

 New     York”    (hereafter,    the   “Lindenhurst       Property”   or   the

 “Forfeitable Real Property”).         Following its guilty verdict, the


 1 Count One of the Superseding Trial Indictment charged Defendant
 with structuring financial transactions.
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 jury    determined    that    the   Government   had   also    proved,      by   a

 preponderance of the evidence, that the Lindenhurst Property was

 involved in, or was traceable to, the Defendant’s structuring

 offense.    (See Jury Verdict on Forfeiture, ECF No. 137.)

             On November 28, 2022, the Court entered a Preliminary

 Order of Forfeiture ordering Defendant to forfeit, inter alia, all

 right title and interest in the Lindenhurst Property.                (See Order

 Granting Motion for Forfeiture, ECF No. 141.)                Subsequently, on

 January 19, 2023, Defendant filed her Petition for Third-Party

 Interest. (See generally Defendant’s Petition.) In sum, Defendant

 contended    that    the    Lindenhurst     Property   was   not   subject       to

 forfeiture    because      “[t]he   Defendant . . . never     had,    nor   ever

 possessed a cognizable claim to ownership interest in the subject

 property[,]” instead, Defendant stated “[t]he right, title and

 interest in the [Lindenhurst Property] . . . rest[ed] formally and

 beneficially with” Defendant as Trustee of the Trust.                  (Id. at

 3-4.)    Defendant attached proof of her appointment as Trustee to

 her petition.       (Trust Instrument, Ex. M, ECF No. 145-13, attached

 to Defendant’s Petition.) 2          Additionally, Defendant attached a


 2 Since the Court treats a motion to dismiss a petition for third-
 party interest in the same manner it would treat a motion to
 dismiss a civil complaint, see United States v. Swartz Family
 Trust, 67 F.4th 505, 513-14 (2d Cir. 2023), the Court may consider,
 in conjunction with the petition, any written instrument attached
 to the petition as an exhibit and/or any documents incorporated in
 the petition by reference. See Chambers v. Time Warner, Inc., 282
 F.3d 147, 152 (2d Cir. 2002).
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 Bargain and Sale Deed dated 24 June 2013, demonstrating that the

 Lindenhurst Property was purchased by DCC Realty LLC (“DCC Realty”)

 (Deed, Ex. I, ECF No. 145-9, attached to Defendant’s Petition),

 and a Statement with Respect to Closing of Title reflecting the

 conveyance of the property from Frances R. Culliney to DCC Realty

 for $395,000.00.     (Statement with Respect to Closing of Title, Ex.

 K, ECF No. 145-11, attached to Defendant’s Petition.)             Schedule A

 of the Trust instrument documents the corpus of the Trust which

 included, inter alia, “the equity interest in DCC Realty LLC,”

 which, as demonstrated, owned the Lindenhurst Property.            (Schedule

 A, attached to Trust Instrument.)

             Likewise, on January 19, 2023, Storms filed his Petition

 for Third-Party Interest.         (See generally Storms Petition.)         In

 his Petition, Storms argued:

             In or about 2013, Diana Christie and Virginia
             Christie Carpio, as the sole Members of DCC
             Realty LLC, purchased the subject property.
             Thereafter, several years after the passage of
             Virginia Christie Carpio, Diana Christie, as
             the Managing Member and sole member of DCC
             Realty LLC, and in conjunction with the terms
             and conditions of the Diana Christie Family
             Trust, transferred ownership of the subject
             property to the Diana Christie Family Trust.

 (Storms Petition at 2.)

             On April 19, 2023, both Defendant and Storms filed

 Supplemental Petitions in which they sought to clarify ownership

 of DCC Realty.      (See Defendant’s Supplemental Petition, ECF No.


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 159, at 1; Storms’ Supplemental Petition, ECF No. 160, at 1.)

 Specifically, the Supplemental Petitions highlighted that Diana

 Christie was the sole Managing Member of DCC Realty and Virginia

 Christie Carpio merely served as the company’s General Manager.

 (Id.)

             On April 24, 2023, the Government filed the instant

 Motion seeking dismissal of both Petitions. In sum, the Government

 argued that: (1) 21 U.S.C. § 853(n)(2) barred the Defendant from

 participating       in    the   ancillary    proceeding,     even    in   her

 representative capacity; (2) “the Petitions fail[ed] to state a

 claim under 21 U.S.C. § 853(n)(6)[;]” (3) “the Petitions fail[ed]

 to allege a colorable, present legal interest in the Forfeitable

 Real     Property        sufficient    to    confer     standing[;]”      and

 (4) “[D]efendant and Storms lack[ed] any standing to assert a claim

 to company assets, such as the Forfeitable Real Property, which

 [was] . . . held by in the name of DCC Realty.” (See Support Memo,

 ECF No. 162-1, attached to Motion to Dismiss, at 1-2.)

             On May 25, 2023, Petitioners filed a Joint Opposition

 responding to the Government’s Motion.           (See Opposition, ECF No.

 170.)    Additionally, attached to their Opposition, the Petitioners

 included an affidavit from Diana Christie explaining, inter alia,

 that, “[o]n May 18, 2023, [Defendant], acting as Trustee of the

 Trust, executed a Bargain and Sale Deed transferring all right,

 title,     and    interest      in    the   [Lindenhurst     Property]     to

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 the . . . Trust[,]” in the hope that this action would “resolve[]

 the first contention raised by the Government in seeking to deprive

 the Trust of the [Lindenhurst Property].”             (See Diana Christie

 Affidavit, Ex. A, ECF No. 170-1, attached to Opposition, ¶ 23.)

 Further,     Diana   Christie    stated    that    “after    executing    the

 deed . . . [Defendant] resigned as Trustee of the . . . Trust and,

 at that time,” a Successor Trustee was appointed.                 (Id.)     As

 evidence of the conveyance the Petitioners attached the Bargain

 and Sale Deed indicating that the Lindenhurst Property was conveyed

 from DCC Realty to the Trust on May 18, 2023, for no consideration.

 (Deed, Ex. B, ECF No. 170-2, attached to Opposition.)

             On June 13, 2023, the Government filed a Reply in which

 they argued, inter alia, that the May 18, 2023, conveyance had

 effectively mooted both Defendant’s and Storms’ petitions.                (See

 Reply, ECF No. 172.)



                                  DISCUSSION

 I.    Legal Standard

       A.    Section 853(n)(2): Procedure

             “Title 21 U.S.C. §§ 853(n)(1) and (2) set forth the

 procedure for asserting, in an ancillary proceeding, a third-party

 claim with respect to property subject to a criminal order of

 forfeiture.”     DSI Assocs. LLC v. United States, 496 F.3d 175, 179

 (2d Cir. 2007).      Pursuant to Section 853(n)(1):

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             (1) Following the entry of an order of
             forfeiture under this section, the United
             States shall publish notice of the order and
             of its intent to dispose of the property in
             such manner as the Attorney General may
             direct. The Government may also, to the extent
             practicable, provide direct written notice to
             any person known to have alleged an interest
             in the property that is the subject of the
             order of forfeiture as a substitute for
             published notice as to those persons so
             notified.[3]

             (2) Any person, other than the defendant,
             asserting a legal interest in property which
             has been ordered forfeited to the United
             States pursuant to this section may, within
             thirty days of the final publication of notice
             or his receipt of notice under paragraph (1),
             whichever is earlier, petition the court for
             a hearing to adjudicate the validity of his
             alleged interest in the property . . . .

 Id. (quoting 21 U.S.C. § 853(n)(1), (2)).

             When   a   third-party    files    a   petition   asserting     an

 interest    in   forfeited    property,    “the    court   must   conduct   an

 ancillary proceeding” to adjudicate such third-party interest in

 property.    FED. R. CRIM. P. 32.2(c)(1).     However, Rule 32.2(c)(1)(A)

 provides that “the court may, on motion, dismiss the petition for

 lack of standing, for failure to state a claim, or for any other

 lawful reason.”        FED. R. CRIM. P. 32(c)(1)(A).       Such a motion is

 “treated like a motion to dismiss a civil complaint under Federal


 3 No party disputes that the Government complied with the notice
 requirements. Indeed, notice was provided to both Petitioners on
 December 29, 2022. (See Notice, Ex. B, ECF No. 145-2, attached to
 Defendant’s Petition; Notice, Ex. B, ECF No. 146-2, attached to
 Storms Petition.)
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 Rule of Civil Procedure 12(b).”           Swartz Family Tr., 67 F.4th at

 513-14 (quoting United States v. Watts, 786 F.3d 152, 161 (2d Cir.

 2015)); see also Pacheco v. Serendensky, 393 F.3d 348, 352 (2d

 Cir. 2004) (“[U]nder Rule 32.2, a motion to dismiss a third-party

 petition in a forfeiture proceeding prior to discovery or a hearing

 should be treated like a motion to dismiss a civil complaint under

 Federal Rule of Civil Procedure 12(b).” (citing United States v.

 BCCI Holdings (Lux.), S.A., 961 F. Supp. 282, 285 (D.D.C. 1997))).

 Consequently, the Court “must accept all well-pled facts alleged

 in the petition as true and construe all reasonable inferences in

 the    petitioner’s      favor.”       United     States    v.    Daugerdas,

 No. 09-CR-0581, 2020 WL 3472447, at *1 (S.D.N.Y. June 25, 2020)

 (citing ECA, Local 134 IBEW Joint Pension Tr. of Chi. V. JP Morgan

 Chase Co., 553 F.3d 187, 196 (2d Cir. 2009)).

       B.    Standing in a Forfeiture Proceeding

             “[T]o have standing to bring a claim under Section

 853(n)(2), a petitioner must demonstrate a ‘legal interest’ in the

 property at issue.”       Swartz Family Tr., 67 F.4th at 516 (citing

 Watts, 786 F.3d at 160-61; 21 U.S.C. § 853(n)(2)).                “Where the

 petitioner has no valid interest in the property under state law,

 the inquiry ends, and the claim fails for lack of standing.”              Id.

             “A third-party petitioner has only two statutory grounds

 to assert a legal interest in forfeited property.”               Id. at 513.

 The petitioner may show either: (1) “that he possessed a ‘superior

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 interest’ at the time of the offense under § 853(n)(6)(A)[;]” or

 (2) “that he was a ‘bona fide purchaser for value’ reasonably

 without    cause    to     believe       that    the   property      was    subject     to

 forfeiture under § 853(n)(6)(B).”                Id. (quoting Watts, 786 F.3d at

 159-61).       “Beyond      those    two        limited    claims,    the       provision

 authorizes no challenges to the forfeitability of a defendant’s

 property by interested third parties.”                    Id.   The Second Circuit

 has held “that § 853(n)(2)’s requirement of a legal interest in

 property,     which   is    necessary       for    standing,      must     be    read    as

 identical to § 853(n)(6)’s reference to a right, title, or interest

 in the property.”        United States v. Church & Dwight Co., Inc., 510

 F.   App’x    55,   58     (2d    Cir.    2013)     (quoting    United      States      v.

 Ribadeneira, 105 F.3d 833, 835 (2d Cir. 1997) (internal quotation

 marks omitted)).         As such, “the standing inquiry is ‘identical to

 one “on the merits” to determine whether a third party meets the

 statute’s requirements.’”            Id. (quoting DSI Assocs., 496 F.3d at

 183 n.9).

              “A motion to dismiss a forfeiture petition for lack of

 standing     implicates     the    court’s       subject    matter    jurisdiction.”

 United States v. Sharma, No. 18-CR-0340, 2021 WL 861353, at *6

 (S.D.N.Y. Mar. 8, 2021) (citing Lucas v. United States, 775 F.3d

 544, 546 (2d Cir. 2015)).             As such, the claimant, as the party

 seeking relief, has “the burden of proving the existence of subject

 matter jurisdiction by a preponderance of the evidence.”                                Id.

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  (citing Broidy Cap. Mgmt. LLC v. Benomar, 944 F.3d 436, 445 (2d

  Cir. 2019)).

  II.   Analysis

        A.     Defendant’s Petition Must be Dismissed as Moot After Her
               Resignation as Trustee

               Section     853(n),   by    its   plain    language,   precludes    a

  Defendant from asserting a legal interest in the property ordered

  forfeited.    See 21 U.S.C. § 853(n)(2) (“Any person, other than the

  defendant, asserting a legal interest in property which has been

  ordered forfeited [may], . . .            petition the court for a hearing

  to adjudicate the validity of his alleged interest in the property”

  (emphasis     added)).         “Consistent     with     § 853(n)(2)’s     express

  language, courts routinely acknowledge that a defendant is barred

  from contesting a forfeiture order on behalf of a third party.”

  Daugerdas, 2020 WL 3472447, at *2 (collecting cases).

               This exclusion remains true even where the Defendant

  purports to bring the petition as a fiduciary on a beneficiaries’

  behalf.     Id.    On this point, Daugerdas is illustrative, where a

  Defendant sought to “sidestep § 853(n)(2)’s plain language by

  bringing the Petition, ‘not as defendant or individually, but

  solely as [c]ustodian and [t]rustee’” on behalf of Beneficiaries.

  Id. at *3.    In dismissing defendant’s petition, the court observed

  “[defendant] . . . offer[ed]             no    authority      supporting       the

  proposition       that   he   cease[d]   being    the    ‘person’   who   is   the


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  ‘defendant’ in th[e] action by purportedly donning his trustee

  hat.”     Id.    The court reasoned that defendant’s contention, that

  he could bring a § 853(n) petition in a representative capacity,

  was “tantamount to reading § 853(n)(2) to permit any person, other

  than the defendant acting in his capacity as defendant, to petition

  [the] [c]ourt.”          Id. (emphasis added).        This, the court observed,

  “is not what the statute says[,]” and to find otherwise would

  “effectively write[] the ‘other than the defendant’ clause out of

  the     statute.”         Id.;     see     also   United   States   v.    Barnard,

  No. 21-CR-0696, 2023 WL 1779548, at *2 (S.D.N.Y. Feb. 6, 2023)

  (dismissing petition brought by defendant, purportedly in his

  capacity as trustee of a revocable trust, finding “based on the

  plain text of Section 853(n) . . . he is precluded from bringing

  a petition asserting third-party interests in th[e] ancillary

  proceeding.’”)

              In    view     of    the   foregoing,    the   Government    initially

  argued that Section 853(n) precluded Defendant from asserting,

  either on her own behalf, or on behalf of the Trust, an interest

  in the Lindenhurst Property at the ancillary proceeding.                       (See

  Support    Memo     at    9-11.)         Defendant   countered   that    the   trust

  instrument named Defendant as trustee and that under New York Law

  “the legal estate vests with the Trustee.”                   (Opposition at 7.)

  Defendant averred that “it [was] error for the Government to assert

  that [Defendant], as Trustee, [was] not a party in interest and

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  ha[d] no legal o[r] colorable title to the subject ‘Forfeitable

  Property.’” 4   (Id.)     Defendant distinguished Daugerdas, and other

  cases cited by the Government, by highlighting Daugerdas concerned

  a defendant that could not demonstrate “the existence of a trust

  instrument[,]” whereas here, Defendant not only alleged that she

  was the Trustee of the Trust but also included a copy of the Trust

  confirming her appointment.        (Id. at 8.)          Regardless, Defendant

  highlighted that, “[i]n an effort to resolve the Government’s

  misplaced     concern     over   [Diana     Christie’s]      designation     of

  [Defendant] . . . as       the   Trustee,       Diana    Christie     requested

  [Defendant] resign in favor of a Successor Trustee” and that this

  designation     “should    alleviate      the   concerns     raised    by   the

  Government.”     (Id.)

              In reply, the Government argues “the appointment of the

  New Trustee for the Trust does not remedy the fact that [D]efendant

  is barred from litigating the Defendant’s Petition.”                  (Reply at

  8.)   The Government highlights that the New Trustee has neither

  “sought permission from the Court to belatedly file a new petition

  on behalf of the Trust,” nor requested “to be substituted for




  4 In making this point, Petitioners appear to misconstrue the
  Government’s textual based arguments.    The Government clarifies
  that it “does not dispute that, under appropriate circumstances,
  a trustee can litigate a lawsuit on behalf of a trust.” (Reply at
  9.)    However, in this case “the trustee happens to be the
  defendant, and the law expressly prohibits a defendant from
  litigating forfeiture in an ancillary proceeding.” (Id.)
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  defendant to litigate defendant’s petition.”              (Id.)   As such, the

  Government contends Defendant’s Petition must be dismissed as

  moot.

              The Court agrees with the Government that Defendant’s

  resignation as Trustee means she can no longer demonstrate a legal

  interest in the property at issue.           With no legal interest in the

  Forfeitable Real Property, Defendant lacks the standing necessary

  to bring her Petition; this determination ends the inquiry. 5               To

  the   extent   the   Trust   intends    to   have   its    Successor   Trustee

  substituted for Defendant or seeks leave for its Successor Trustee

  to file a separate Petition, there was no request in this regard.

  The lack of a request notwithstanding, the time to file petitions

  has passed.     Additionally, even if the Court were to allow the

  Successor Trustee to file a separate Petition, or to be substituted

  for Defendant, the Court agrees with the Government that any

  interest the Trust can show in the Lindenhurst Property is not a

  pre-existing interest under 853(n)(6)(A) that vested before the

  Government’s interest. (See infra-Part-II.B.)




  5 Even if Defendant had not mooted her petition by resigning as
  Trustee, the Court finds the reasoning in Daugerdas to be
  persuasive, notwithstanding Defendant’s ability to produce a Trust
  document attesting to her appointment as Trustee.        The plain
  language of 853(n) precludes a Defendant from bringing a Petition
  on behalf of third parties. Had Congress intended to carve out an
  exception for a Defendant to bring a petition in his representative
  capacity, it could have easily done so.


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        B.     Both Petitions Must be Dismissed for Lack of Standing
               and Failure to State a Claim Under 21 U.S.C. § 853(n)(6)

               To establish a superior interest claim under
               Section 853(n), a petitioner must demonstrate
               that it “has a legal right, title, or interest
               in the property . . . [that] was vested in the
               petitioner rather than the defendant or was
               superior to any right, title, or interest of
               the defendant at the time of the commission of
               the acts which gave rise to the forfeiture of
               the property.”

  Swartz     Family     Tr.,   67   F.4th      at   517      (citing   21     U.S.C.

  § 853(n)(6)(A)).      “Subsection 853(n)(6)(A) works hand in hand with

  the ‘relation-back’ doctrine embodied in § 853(c), which provides

  that all property subject to forfeiture based on a criminal offense

  ‘vests in the United States upon the commission of the [offense].’”

  Watts, 786 F.3d at 166 (citing 21 U.S.C. § 853(c)).              Consequently,

  “a   third    party    may   prevail      under   § 853(n)(6)(A)          only   by

  establishing that he had a legal interest in the forfeited property

  before the underlying crime was committed” i.e., “before the

  government’s interest vested.”            Swartz, 67 F.4th at 517 (citing

  Watts, 786 F.3d at 166).

               On this issue, the Government initially argued that both

  Petitions failed to allege “that [their] asserted interests in the

  Forfeitable    Real    Property   were      ‘vested   in    [Storms/the     Trust]

  rather than the defendant or [were] superior to any right, title,

  or interest of the defendant at the time of the commission of the

  acts which gave rise to the forfeiture of the property.’” (Support


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  Memo at 11-12.)         The Government explains, “the Trust was not

  established until 2021 . . . approximately ten years after the

  ‘acts [that] gave rise to the forfeiture of the property,’” such

  acts occurring “in approximately 2011 through 2013.”                  (Id. at 12.)

  Since both Petitioners asserted an interest in the Lindenhurst

  Property via the Trust neither could demonstrate their interest

  was    a    “pre-existing      interest[]       pursuant        to     21   U.S.C.

  § 853(n)(6)(A).” 6    (Id.)

              Petitioners      countered     that     the   Trust       and   Storms

  maintained “a superior right, title and interest in the subject

  property above all others,” and that “[n]owhere within the confines

  of the record was there any evidence offered that [Defendant] was

  the owner of the building or ever had any ties of ownership right,

  title or interest to the building.”               (Opposition at 9.)        Next,

  Petitioners stated that “on May 18, 2023, [Defendant] as Trustee

  of the Trust, created and executed a Bargain and Sale Deed with

  Covenants     against     Grantors       Acts     upon    the        [Lindenhurst]

  property[,]” (Id. at 11.)            Petitioners contend that this act

  “merged    the   equitable    interest     reflected      in    the    Membership

  Certificate of DCC Realty LLC with the legal title of DCC Realty

  LLC thereby solidifying the right, title and interest of the




  6 The Court notes that neither Defendant nor Storms asserted that
  they had standing pursuant to 853(n)(6)(B), and so, the Court does
  not address this issue.
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  Trust.”       (Id.)   Furthermore, Petitioners aver that Defendant’s

  resignation as Trustee has divested her of any further interest in

  the Trust and the subject property.               (Id.)

                In   Reply,   the    Government      characterizes       DCC   Realty’s

  conveyance of the Lindenhurst Property to the Trust as a “blatant

  reaction to the arguments raised in the Government’s Motion to

  Dismiss.” (Reply at 3.) Indeed, Petitioners appear to acknowledge

  that the conveyance was made in an attempt to remedy the objections

  raised by the Government.          (Opposition at 5 (stating that the May

  18, 2023, conveyance was “predicated upon the objections voiced by

  the Government”).)          The Government highlights that “the May 18,

  2023    conveyance    of    the    Forfeitable      Real    Property     was   a    new

  transaction that created a new interest in the Forfeitable Real

  Property i.e., the Trust’s direct ownership of the Forfeitable

  Real Property.”       (Reply at 4 (emphases in original).)

                Regardless      of     the        conveyance,      the     Government

  reemphasizes that “the Petitions . . . do not claim, and, indeed,

  could   not    have   claimed,     an    interest    in    the   Forfeitable       Real

  Property via the Trust’s direct ownership of the Forfeitable Real

  Property, because such interest did not exist at the time of the

  filing of the Petitions.”               (Id. (emphasis in original).)               The

  Government highlights that the Petitions, as presently pled must

  be dismissed as moot because they are based upon the Trust’s

  “equity interest in DCC Realty[,]” an interest that no longer

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  exists.    (Id.)   Moreover, amendment, according to the Government,

  would be futile because “the Trust’s new ownership interest in the

  Forfeitable Real Property . . . could never state a valid claim

  under 21 U.S.C. § 853(n)(6).”          (Id. at 5.)      Specifically, the

  Government states neither Storms nor the New Trustee could “allege

  that the Trust’s direct interest in the Forfeitable Real Property,

  which arose on May 18, 2023, is a pre-existing interest under 21

  U.S.C. § 853(n)(6)(A), that was superior or vested prior to the

  commission of the acts that gave rise to the forfeiture of the

  Forfeitable Property.”      (Id. (emphasis in original).)

              As an initial matter, to the extent Petitioners suggest

  Defendant’s lack of personal ownership of the Lindenhurst Property

  affects its forfeitability, the Court rejects this argument as

  meritless.    See De Almeida v. United States, 459 F.3d 377, 381 (2d

  Cir. 2006) (“[C]riminal forfeiture is not a measure restricted to

  property owned by the criminal defendant; it reaches any property

  that is ‘involved’ in the offense.             The likelihood that some

  property involved in an offense will be owned by persons other

  than the criminal defendant is reflected in the provision for an

  ancillary proceeding . . . .” (emphasis in original)).             When the

  Jury determined that the Government successfully established, by

  a preponderance of the evidence, that the Lindenhurst Property

  “was involved in” or was “traceable to” property involved in



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  Defendant’s structuring offense, it became subject to forfeiture

  pursuant to 31 U.S.C. § 5317(c)(1)(A).

               Additionally, the Court agrees with the Government that

  neither Petitioner, as a matter of law, can establish a legal

  interest in the Lindenhurst Property, as is required for standing,

  pursuant     to    853(n)(6)(A).           First,      when       the   Petitions   were

  originally filed, the supporting documentation attached to the

  Petitions demonstrated that the Trust was formed on or about June

  30, 2021.         (See Trust Instrument.)                  Schedule A of the Trust

  Instrument states that, at the time of formation, the corpus of

  the Trust included, inter alia, “the equity interest in DCC Realty

  LLC” which was the entity that owned the Forfeitable Real Property.

  (Schedule A, attached to Trust Instrument.)                    Consequently, neither

  Storms as a beneficiary of the Trust nor Defendant as its Trustee

  could assert a legal interest in the Lindenhurst Property via the

  Trust because the Trust never owned an interest in the Property;

  instead, the Trust’s interest was in the equity shares of DCC

  Realty.      See United States v. Castle, No. 18-CR-0531, 2020 WL

  4059808,     at    *5    (S.D.N.Y.    July      20,    2020)      (“[C]ourts   in   many

  jurisdictions,          including    New   York,      have    explained     that    while

  members     of    limited    liability      companies        or    shareholders     of   a

  corporation possess an interest in the shares of their company,

  they   do   not    possess     any    interest        in    the    company’s   assets.”

  (emphasis in original)) (collecting cases); see also United States

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  v. All Right, Title and Interest in Real Prop., Appurtenances, and

  Improvements Known as 479 Tamarind Drive, Hallandale, Fla., No.

  98-CV-2279, 2005 WL 2649001, at *3-4 (S.D.N.Y. Oct. 14, 2005) (“[A]

  shareholder in a corporation chartered in Ontario does not have

  standing to contest the forfeiture of any of the specific assets

  of that corporation, just as if the entity had been incorporated

  in New York.”); Swartz Family Tr., 67 F.4th at 516 (finding that

  under New York law, “a member of an LLC has no legal interest in

  the   assets    that      belong    to     the   LLC[,]”   and   concluding     that

  Petitioner lacked standing under § 853(n)(2) “to pursue a claim

  based on its equity ownership interest in” the forfeitable asset).

              Even     if   this     were    not   the   case,   since   the   Trust’s

  interest in DCC Realty did not vest until formation of the trust

  on or about June 30, 2021, its interest was not pre-existing under

  § 853(n)(6)(A). 7      Here, the commission of the acts which gave rise

  to the forfeiture occurred sometime in 2011 through 2013.                       (See

  Superseding Trial Indictment (stating that the structuring count

  occurred   on   or     about     2011     through   2013).)      The   Government’s




  7 Petitioners assert that the Trust’s interest in the Lindenhurst
  Property, arguably, vested on October 9, 2012. (Opposition at 1-
  2.) Petitioners explain that on October 9, 2012, Diana Christie
  as Settlor of the Trust “made an escrow deposit on the Contract of
  Sale to purchase the subject property in the name of the Trust’s
  predecessor in title.” (Id.) The Court finds this point to be
  irrelevant. As the Government notes, the Petitions each claim an
  interest in the Forfeitable Property via the Trust not the Trust’s
  predecessor in interest. (See Reply at 8.)
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  interest in the Forfeitable Real Property therefore vested at a

  time that long predated the Trust’s interest in DCC Realty.

              Finally, the subsequent conveyance of the Lindenhurst

  Property on May 18, 2023, while remedying the Trust’s lack of

  direct ownership in the Property, is a new interest which vested

  in the Trust on May 18, 2023.        This new interest has mooted both

  Petitions which, as presently pled, assert an interest in the

  Forfeitable Real Property via the Trust’s ownership of DCC Realty;

  this interest no longer exists.            The Court likewise finds that

  allowing     the   Petitioners      to     amend   their    Petitions     to:

  (1) substitute     the   Successor       Trustee   for   Defendant;   and/or

  (2) assert the Trust’s new, direct ownership, interest in the

  property would be futile since such an interest could never predate

  the Government’s vested interest under § 853(n)(6)(A). 8

              To the extent not explicitly addressed, the Court has

  considered the remainder of Petitioners’ arguments and it finds

  them to be without merit.




  8 The Bargain and Sale Deed attached by Petitioners to their
  respective petitions demonstrating that the Lindenhurst Property
  was conveyed from DCC Realty to the Trust shows that the transfer
  was for no consideration. While Petitioners do not base any of
  their standing arguments on 853(n)(6)(B), this no consideration
  conveyance means an Amended Petition could never demonstrate that
  the Trust was a Bona Fide purchaser for value. Regardless, since
  the transfer was made after the entry of the forfeiture order and
  with full knowledge that the Lindenhurst Property was subject to
  forfeiture, neither Petitioner could ever demonstrate standing
  based upon 853(n)(6)(B).
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                                   CONCLUSION

              For the stated reasons, IT IS HEREBY ORDERED that the

  Government’s    Motion    to   Dismiss    the   Third-Party   Petitions    of

  Defendant and James Storms (ECF No. 162) is GRANTED.




                                            SO ORDERED.


                                            /s/ JOANNA SEYBERT
                                            Joanna Seybert, U.S.D.J.

  Dated: December 26, 2023
         Central Islip, New York




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